                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

CONCORD MUSIC GROUP, INC., et al.,                  )
                                                    )
                Plaintiffs,                         )
                                                    )       Case No.: 3:23-cv-00606
v.                                                  )
                                                    )       Hon. Aleta A. Trauger
X CORP., D/B/A TWITTER,                             )
                                                    )
                Defendant.                          )

                         DEFENDANT’S UNOPPOSED
            MOTION TO CONTINUE CASE MANAGEMENT CONFERENCE

         Defendant, X Corp., files this Unopposed Motion to Continue Case Management

Conference as follows:

         Pursuant to the Court’s Order granting in part and denying in part Defendant’s Motion to

Dismiss, the Initial Case Management Conference is set for May 20, 2024. [Doc. No. 91].

Defendant respectfully requests the Initial Case Management Conference be reset to May 13,

2024. Undersigned counsel has conferred with Plaintiffs’ counsel, who has confirmed that

Plaintiffs agree to Defendant’s request for continuance. Defendant also coordinated with the

court clerk who verified May 13, 2024 as an available date for the Court. Defendant therefore

requests that the Court enter an Order resetting the Initial Case Management Conference to May

13, 2024.

         WHEREFORE, Defendant respectfully requests a continuance of the Initial Case

Management Conference to May 13, 2024.




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Dated: April 11, 2024.                  Respectfully Submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on April 11, 2024,

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all

parties and counsel of record by operation of the Court’s CM/ECF system.

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